      Case 4:06-cr-00052 Document 795 Filed on 01/21/09 in TXSD Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-06-52 (2 and 3)
                                                 §
                                                 §
JUAN JOSE CAVAZOS                                §
LUIS LEAL                                        §

                                          ORDER

              Defendant Leal filed an unopposed motion for continuance, (Docket Entry No.

794). Co defendant Cavazos is unopposed to the continuance. The court finds that the

interests of justice are served by granting this continuance and that those interests outweigh

the interests of the public and the defendants in a speedy trial. The motion for continuance

is GRANTED. The docket control order is amended as follows:

       Motions to be filed by:                       March 23, 2009
       Responses to be filed by:                     April 6, 2009
       Pretrial conference is reset to:              April 20, 2009, at 8:45 a.m.
       Jury trial and selection are reset to:        April 30, 2009, at 9:00 a.m.

              SIGNED on January 21, 2009, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
